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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION



ALEXANDER F. THOMAS,
      Plaintiff,

v.                                                   Case No. 4:20cv349-WS-HTC

SENIOR CHAPLAIN J. FRAMBO,
CHAPLAIN SPARKES,
     Defendants.
___________________________/

                      REPORT AND RECOMMENDATION

      Plaintiff, a prisoner proceeding pro se, initiated this case on July 1, 2020, by

filing a complaint in the Middle District of Florida, attempting to assert claims

against officials at Jefferson Correctional Institution under 42 U.S.C. § 1983. ECF

Doc. 1. The matter was transferred to this district on July 9, 2020, ECF Doc. 4, and

referred to the undersigned Magistrate Judge for preliminary screening and report

and recommendation pursuant to 28 U.S.C. § 636 and N.D. Fla. Loc. R. 72.2(B).

Because the complaint was not on this Court’s forms and was not accompanied by

the requisite filing fee or a motion to proceed in forma pauperis, the undersigned

issued an order on July 10, 2020, directing Plaintiff to cure these deficiencies. ECF

Doc. 5.
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      Plaintiff did not respond to, or otherwise comply with the Court’s July 10

Order. Thus, on August 7, 2020, the Court issued an order directing Plaintiff to show

cause, why the case should not be dismissed for his failure to respond. ECF Doc. 6.

At Plaintiff’s request, the Court also granted Plaintiff three (3) extensions of time,

cumulatively giving Plaintiff until December 21, 2020, to pay the fee or file a motion

to proceed in forma pauperis and to file an amended complaint on the Court’s

required forms. ECF Docs. 8, 10 & 12. Despite the Court’s indulgence, Plaintiff

still has not complied.

      Additionally, on December 14, 2020, the clerk notified the Court that the last

order of extension, the Court’s November 30, 2020 Order, had been returned

undelivered because Plaintiff had changed address but had not notified the Court.

ECF Doc. 13. On December 14, 2020, after having found the Plaintiff through the

Department of Corrections’ inmate finder, the clerk re-mailed the November 13,

Order with a change of address form to Plaintiff at New River Correctional

Institution, PO Box 900, Raiford FL 32083, which is his current address according

to the Florida Department of Corrections Offender Network website. 1 This Court

then waited another fourteen (14) days from the date the November 30 Order was

resent to the Plaintiff to see if he would file a response to the show cause order, file


1
 Available at the following URL:
http://www.dc.state.fl.us/offenderSearch/detail.aspx?Page=Detail&DCNumber=298666&TypeS
earch=AI

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a change of address, file a motion for proceed in forma pauperis, or file an amended

complaint. However, he did not. Therefore, the undersigned recommends this

action be dismissed for Plaintiff’s failure to comply with orders of the Court and

failure to prosecute.

      Indeed, this matter has been pending over five (5) months without Plaintiff

paying the filing fee or filing an in forma pauperis motion – which are required at

the time of filing – and without Plaintiff filing a complaint on the Court’s required

form. Plaintiff has been given several extensions of time to do so and was warned,

“Petitioner’s failure to timely comply with this order may result in a

recommendation that this case be dismissed for failure to prosecute and comply with

an order of the Court.” ECF Doc. 12.

      Accordingly, it is RESPECTFULLY RECOMMENDED that:

      1.     This case be DISMISSED WITHOUT PREJUDICE for failure to

prosecute or comply with orders of the Court.

      2.     The clerk be directed to close the file.

      DONE in Pensacola, Florida this 11th day of January, 2021.

                                 /s/ Hope Thai Cannon
                                 HOPE THAI CANNON
                                 UNITED STATES MAGISTRATE JUDGE




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